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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

                     Jonathan Childress,                         )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.
                                                                 )
                                                                         Civil Action No.            22-cv-61151-WPD
  Healthcare Revenue Recovery Group, LLC, d/b/a                  )
         ARS Account Resolution Services,
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Healthcare Revenue Recovery Group, LLC,
                                       d/b/a ARS Account Resolution Services
                                       1643 North Harrison Parkway
                                       Building H, Suite 100
                                       Sunrise, Florida 33323




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Sergei Lemberg, Esq.
                                       LEMBERG LAW, LLC
                                       11555 Heron Bay Boulevard, Suite 200
                                       Coral Springs, FL 33076




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
              June 17, 2022                                                                          s/ Nadhege Augustin

                                                                                      Signature of Clerk or Deputy Clerk
